 Case: 3:21-cv-00512-jdp-ajs-eec Document #: 114 Filed: 11/17/21 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN


LISA HUNTER, JACOB ZABEL,
JENNIFER OH, JOHN PERSA, GERALDINE
SCHERTZ, and KATHLEEN QUALHEIM,

                        Plaintiffs,
      and

BILLIE JOHNSON, ERIC O’KEEFE, ED PERKINS,
and RONALD ZAHN,

                        Intervenor-Plaintiffs,
      v.

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., and MARK L. THOMSEN, in
their official capacities as members of the
Wisconsin Elections Commission,
                                                            ORDER
                        Defendants,
                                                      21-cv-512-jdp-ajs-eec
      and

WISCONSIN LEGISLATURE,

                        Intervenor-Defendant,
      and

CONGRESSMEN GLENN GROTHMAN,
MIKE GALLAGHER, BRYAN STEIL, TOM TIFFANY,
and SCOTT FITZGERALD,

                        Intervenor-Defendants,
      and

GOVERNOR TONY EVERS,

                        Intervenor-Defendant.
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    BLACK LEADERS ORGANIZING FOR
    COMMUNITIES, VOCES DE LA FRONTERA,
    the LEAGUE OF WOMEN VOTERS OF
    WISCONSIN, CINDY FALLONA, LAUREN
    STEPHENSON, and REBECCA ALWIN,

                                Plaintiffs,
           v.
                                                                               ORDER
    MARGE BOSTELMANN, JULIE M. GLANCEY,
                                                                     21-cv-534-jdp-ajs-eec
    ANN S. JACOBS, DEAN KNUDSON, ROBERT
    F. SPINDELL, JR., and MARK L. THOMSEN, in
    their official capacities as members of the
    Wisconsin Elections Commission, and
    MEAGAN WOLFE, in her official capacity as the
    administrator of the Wisconsin Elections Commission,

                                Defendants.


         The court temporarily stayed these cases in October after the Wisconsin Supreme Court

granted a petition to commence an original action on redistricting. Dkt. 103.1 As requested by

this court, the parties have submitted a status report on the proceedings in the supreme court.

Dkt. 113.

         The parties’ status report and the supreme court’s docket show progress in the supreme

court since this court issued the temporary stay. The supreme court requested, and the parties

provided, substantial briefing on several issues raised by the supreme court, including the

process the court should use to establish legislative maps and the factors it should consider in

doing so. Dkt. 110-3. The parties apparently have also complied with the request to identify

disputed issues of fact and law and to propose a procedure for resolving those disputes. Joint




1
    Docket citations in this order are to the entries in Case No. 21-cv-512.


                                                 2
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Stipulation of Facts and Law, Johnson v. Wisconsin Election Comm’n, No. 2021AP1450-OA (Nov.

4, 2021).

       It appears from the parties’ filings in both proceedings that they are raising the same

issues in the supreme court that they are raising in this court. In light of the progress in the

supreme court, this court declines to lift the stay at this time. The supreme court has not yet

established a schedule or otherwise committed to resolving the Johnson petition by a particular

date, but it has provided no indication that it will be unwilling or unable to resolve all issues

before it in a timely manner. The Wisconsin legislature and the governor have not yet enacted,

or failed to enact, any maps, although based on news reports, that step is not far off. We would

expect that the supreme court, now that it has the parties’ submissions before it, will soon

provide some details about the process and the schedule it will apply to the Johnson petition.

       Still, this court understands that Wisconsin’s legislative maps must be established in

only a few months, absent an adjustment to the nomination-papers circulations start date. The

court must stand ready to adjudicate the issues raised in these cases, should the state fail to do

so. Accordingly, the court cannot stay these cases indefinitely. The court will continue the stay

until December 6, 2021. At that time, this court will reevaluate whether it is necessary to open

expert discovery to prepare for the possibility of resolution of these cases in federal court. This

stay should give the supreme court time to set a course for its proceedings.




                                                3
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                                   ORDER

   IT IS ORDERED that the temporary stay is continued until December 6, 2021.

   Entered November 17, 2021.

                                    BY THE COURT:


                                    /s/________________________________________
                                    JAMES D. PETERSON
                                    District Judge


                                    /s/________________________________________
                                    AMY J. ST. EVE
                                    Circuit Judge


                                    /s/________________________________________
                                    EDMOND E. CHANG
                                    District Judge




                                       4
